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                            United States District Court
                                      for the
                            Southern District of Florida

  Kenai Batista, and others,            )
  individually and on behalf of those   )
  similarly situated, Plaintiffs        )
                                        )
                                          Civil Action No. 14-24728-Civ-Scola
  v.                                    )
                                        )
  Nissan North America, Inc.,           )
  Defendant                             )


   Order and Judgment Granting Final Approval of Class Action Settlement
                    and Attorneys' Fees and Expenses

         Having considered the Plaintiffs’ motion for final approval of the class
  action settlement between the Plaintiffs Kenai Batista, Andy Chance, Angela
  Matlin, Tung Nguyen and Gerardo Torres (“Plaintiffs”) and Defendant Nissan
  North America, Inc. (“NNA”); having considered the unopposed motion for final
  approval of class action settlement and memorandum of law (ECF No. 178);
  having considered that, by order dated March 1, 2017, this Court granted
  preliminary approval of the proposed class action settlement in this case and
  certified a Settlement Class; and having held a Fairness Hearing on June 21,
  2017 at 8:30 AM, and having considered all of the submissions, objections, and
  arguments with respect to the unopposed motion for final approval of class
  action settlement and memorandum of law (ECF No. 178):
         The Court finds as follows:
         1.    The Court confirms its previous preliminary findings in the
  preliminary approval order, and finds that the settlement of the lawsuit
  satisfies the applicable prerequisites for class action treatment under Fed. R.
  Civ. P. 23(a) and 23(b)(3). The Settlement Class, as defined in Paragraph 31 of
  the Amended Settlement Agreement (“Settlement” or “Settlement Agreement”)
  and also defined below, is so numerous that joinder of all members is not
  practicable, questions of law and fact are common to the Settlement Class, the
  claims of the Plaintiffs are typical of the claims of the Settlement class, the
  Plaintiffs will fairly and adequately protect the interests of the Settlement
  Class, and questions of law and fact common to the members of the Settlement
  Class predominate, for settlement purposes, over any questions affecting only
  individual members;
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          2.    Notice to the Settlement Class as required by Rule 23(e) of the
  Federal Rules of Civil Procedure has been provided in accordance with the
  Court’s second amended preliminary approval order of class action settlement,
  and such Notice by first-class mail was given in an adequate and sufficient
  manner, constitutes the best notice practicable under the circumstances, and
  satisfies all requirements of Rule 23(e) and due process.
          3.    In accordance with the requirements of the Class Action Fairness
  Act of 2005, 28 U.S.C. § 1715, the Settlement Administrator caused to be
  mailed a copy of the proposed class action settlement and all other documents
  required by law to the Attorney General of the United States and the Attorneys
  General in each of the jurisdictions where class members reside. None of the
  Attorneys General filed objections to the Settlement.
          4.    The Court has considered all relevant factors for determining the
  fairness of the settlement and has concluded that all such factors weigh in
  favor of granting final approval. The Settlement was a result of arm’s-length
  negotiation by experienced counsel with an understanding of the strengths and
  weaknesses of their respective cases. Among the factors that they considered
  are those set forth in the unopposed motion for final approval of class action
  settlement and memorandum of law. The Parties have agreed to the Settlement
  without any admission of wrongdoing and to avoid further expenses,
  uncertainty, inconvenience, and interference with their ongoing business. As
  part of the lawsuits, the Plaintiffs’ counsel has conducted a detailed
  investigation of the facts and analyzed the relevant legal issues. Although the
  Plaintiffs and the Plaintiffs’ counsel believe that the claims asserted in the
  complaint have merit, they also have examined the benefits to be obtained
  under the Settlement compared to the costs, risks, and delays associated with
  the continued litigation of these claims;
          5.    The Court finds that the Settlement is fair, reasonable, and
  adequate in light of the complexity, expense, and duration of litigation and the
  risks involved in establishing liability, damages, and in maintaining the class
  action through trial and appeal;
          6.    The benefits to the Settlement Class constitute fair value given in
  exchange for the release of the claims of the Settlement Class. The Court finds
  that the consideration to be provided under the Settlement is reasonable
  considering the facts and circumstances of this case, the types of claims and
  defenses asserted in the lawsuit, and the risks associated with the continued
  litigation of these claims;
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         7.      The Parties and Settlement Class Members have irrevocably
  submitted to the exclusive jurisdiction of this Court for any suit, action,
  proceeding or dispute arising out of Settlement; and
         8.      It is in the best interest of the Parties and the Settlement Class
  Members and consistent with principals of judicial economy that any dispute
  between any Settlement Class Member (including any dispute as to whether
  any person is a Settlement Class Member) and any Released Party which in any
  way relates to the applicability or scope of the Settlement, or this Final
  Judgment and Order of Dismissal should be presented exclusively to this Court
  for resolution by this Court.
              It is therefore ordered, adjudged and decreed that:
         9.      The Court certifies a Settlement Class, for settlement purposes
  only, consisting of the following: All current and former owners and lessees of
  2013-2014 model year Nissan Pathfinder and 2013-2014 model year Infiniti
  JX35/QX60 vehicles equipped with the FK-*k2 CVT in the United States and
  its territories, including Puerto Rico. Excluded from the Settlement Class are:
  (1) NNA, any entity or division in which NNA has a controlling interest, its/their
  legal representatives, officers, directors, assigns and successors; (2) any judge
  to whom this case is assigned and the judge’s clerks and any member of the
  judge’s immediate family; (3) fleet and government purchasers and lessees; and
  (4) those persons or entities that validly and timely elected exclusion from the
  Settlement Class. Any objector that timely filed an objection to the Settlement
  Agreement may choose to opt out of the Settlement on or before July 12,
  2017, by following the same opt out procedure delineated in the Notice to the
  Settlement Class.
         10. The Settlement submitted by the Parties is finally approved
  pursuant to Fed. R. Civ. P. 23(e) as fair, reasonable, adequate, and in the best
  interests of the Settlement Class. The Parties are directed to perform all
  obligations under the Settlement in accordance with its terms. The Parties and
  each person within the definition of the Settlement Class are hereby bound by
  the terms and conditions of the Settlement, except for those who have duly
  excluded themselves.
         11. The Lawsuit is hereby dismissed with prejudice and without costs.
  This Judgment has been entered without any admission by any Party as to the
  merits of any allegation by any Party in the Lawsuit and shall not constitute a
  finding of either fact or law as to the merits of any claim or defense asserted in
  the Lawsuit;
         12. The Released Claims as defined in the Settlement are hereby finally
  compromised, settled, released, discharged, and dismissed with prejudice
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  against the Released Parties by virtue of the proceedings herein and this Final
  Judgment and Order of Dismissal.
         13. All Class Members were given a full and fair opportunity to
  participate in the Final Approval Hearing, and all members of the Settlement
  Class wishing to be heard have been heard. Settlement Class Members also
  have had a full and fair opportunity to exclude themselves from the proposed
  settlement and the class. Accordingly, the terms of the Settlement Agreement
  and of the Court's Order and Judgment shall be forever binding on all
  Settlement Class Members who did not timely opt out of the Settlement. These
  Settlement Class Members have released and forever discharged the NNA and
  all Related Parties for any and all Released Claims.
         14. Members of the Settlement Class and their successors and assigns
  are hereby permanently barred and enjoined from asserting, commencing,
  prosecuting or continuing to prosecute, either directly or indirectly, any
  Released Claim against any of the Released Parties in any forum, with the
  exception of any Settlement Class Members who have duly excluded
  themselves.
         15. The named Plaintiffs are suitable class representatives and are
  hereby appointed representatives for the Settlement Class. The Court approves
  an award of $5,000 to each of Plaintiffs Kenai Batista, Andy Chance, Angela
  Matlin, Tung Nguyen and Gerardo Torres as a reasonable payment for his or
  her efforts, expenses and risks as Plaintiffs in bringing the lawsuit, which shall
  be paid by NNA as provided in the Settlement.
         16. Based upon the evidence submitted, the Court finds that the
  attorneys of Cory Watson, P.C., Weil Quaranta, P.A., Newsome Melton, LLP,
  Berger & Montague, P.C., and Capstone Law APC have the requite knowledge,
  experience, and skills to advance the interests of the Settlement Class. The
  Court hereby appoints all five law firms as counsel for the Settlement Class.
  The Court approves an award of $3,750,000 to the Plaintiffs’ counsel as
  reasonable payment for Attorneys’ Fees and Expenses, which shall be paid by
  NNA as provided in the Settlement.
         17. Without affecting the finality of this judgment, the Court’s retained
  jurisdiction of this Settlement also includes the administration and
  consummation of the Settlement. In addition, without affecting the finality of
  this judgment, the Court retains exclusive jurisdiction of, and the Parties and
  all Settlement Class Members are hereby deemed to have submitted irrevocably
  to the exclusive jurisdiction of this Court for, any suit, action, proceeding or
  dispute arising out of or relating to this Order and the Settlement Agreement,
  or the applicability of the Settlement Agreement. Without limiting the generality
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  of the foregoing, any dispute concerning the Settlement Agreement, including,
  but not limited to, any suit, action, arbitration or other proceeding by a
  Settlement Class Member in which the provisions of the Settlement Agreement
  are asserted as a defense in whole or in part to any claim or cause of action or
  otherwise raised as an objection, shall constitute a suit, action or proceeding
  arising out of or relating to this Order. Solely for purposes of such suit, action
  or proceeding, to the fullest extent possible under applicable law, the Parties
  hereto and all persons within the definition of the Settlement Class are hereby
  deemed to have irrevocably waived and agreed not to assert, by way of motion,
  as a defense or otherwise, any claim or objection that they are not subject to
  the jurisdiction of this Court, or that this Court is, in any way, an improper
  venue or an inconvenient forum.
         18. All Objections filed are hereby overruled and denied.
         19. The Court finds that no just reason exists for delay in entering this
  Final Judgment and Order of Dismissal. Accordingly, the Clerk is hereby
  directed to enter final judgment.
         20. The Court directs the Clerk to close this case. All pending motions,
  if any, are denied as moot.
        Done and ordered in chambers, at Miami, Florida, on June 28, 2017.



                                              ________________________________
                                              Robert N. Scola, Jr.
                                              United States District Judge
